           Case 3:16-cv-30008-NMG Document 160 Filed 02/19/19 Page 1 of 1




                                      UNITED STATES DISTRICT COURT
                                       DISTRICT OF MASSACHUSETTS


Lee Hutchins
                               Plaintiff(s)

                    v.                                        CIVIL ACTION NO. 16-30008-NMG


Daniel J. McKay, et al
                               Defendant(s)


                                              JUDGMENT IN A CIVIL CASE

GORTON                    , D.J.



x         Jury Verdict. This action came before the court for a trial by jury. The issues have been tried
          and the jury has rendered its verdict.


G         Decision by the Court. This action came to trial or hearing before the Court. The issues have
          been tried or heard and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED

          Judgment is entered in favor of Plaintiff against Defendant Hervieux, in the amount of
          $250,000.00, and Defendant City of Springfield only.




                                                      ROBERT F. FARRELL,
                                                      CLERK OF COURT

Dated: 2/19/19                                         By /s/ Christine M. Lima
                                                              Deputy Clerk


NOTE: The post judgment interest rate effective this date is 2.54         %.

(Judgment post jury trial.wpd - 3/7/2005)
